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 March 21, 2025

 VIA ECF

 Hon. Taryn A. Merkl
 United States District Court for the Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

 Re:      Trooper 1 v. NYSP et al., 22-cv-893 (LDH) (TAM)
          Response to Andrew Cuomo’s Latest Repetitive and Harassing Letter

 Dear Judge Merkl:

        Andrew Cuomo’s latest frivolous letter shows again why he should not be allowed to force
 Lindsey Boylan into a prolonged, unbounded deposition.

         Just in the past month, Mr. Cuomo has abused his infinite taxpayer funds to file three letters
 complaining about non-party Ms. Boylan’s legitimate First Amendment speech. See ECF Nos.
 329, 331, & 331. Two weeks ago, Mr. Cuomo also noticed his twenty-sixth subpoena aimed at
 Ms. Boylan, seeking irrelevant private communications about his mayoral campaign. This
 relentless harassment may advance Mr. Cuomo’s political interests, but it has nothing to do with
 this case or the legitimate arguments Ms. Boylan advanced in her motion to quash her deposition. 1

         Ms. Boylan’s First Amendment speech bolsters, not discredits, her motion to quash. The
 latest salvo in Mr. Cuomo’s letter-writing campaign only shows that Ms. Boylan has once again
 publicly opposed Mr. Cuomo’s mayoral candidacy. True: as we have written before, she opposes
 him to “assert [her] own agency precisely because [she] [has] been subjected to             [.]” See
 ECF No. 326-1. For all their tedious publicly-funded relitigating, Mr. Cuomo’s letters continue to
 refuse to seriously engage with the arguments that Ms. Boylan advanced in her February 18
 response letter (ECF 326-1), in the motion to quash itself (ECF No. 315-1), and in the related reply
 (ECF No. 319-1). Ms. Boylan’s public advocacy—her own narrative, told on her own terms, in a
 space she can control—is nothing like Mr. Cuomo’s threatened interrogation, which will only
 reinforce                                      . ECF No. 326-1.

         Mr. Cuomo’s latest retaliatory letter also dangerously mischaracterizes Ms. Boylan’s
 political speech. Most egregiously: Mr. Cuomo wrongly contends that, on March 13, “Ms. Boylan

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   Mr. Cuomo also attacks Ms. Boylan for seeking relief from this Court while her moving papers remain under seal.
 To be clear, this Court already granted Ms. Boylan’s request to file the declaration at ECF No. 305-2 under seal. Then,
 in compliance with this Court’s January 29, 2025 order, Ms. Boylan refiled a renewed sealing request proposing
 “narrowly tailored” redactions to protect her highly sensitive medication information while also balancing the
 presumption of public access. See ECF No. 315. Ms. Boylan’s subsequent motions to seal request the same narrowly
 tailored redactions. And to protect Ms. Boylan’s legitimate privacy interests, the motions should be granted.



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 actively sought to engage with Governor Cuomo’s legal team after the fundraiser, yelling at us as
 we exited the building.” ECF No. 333 at 1. In fact, Ms. Boylan was one of many protestors at a
 Working Families Party event, expressing their political views to everyone who left the fundraiser.
 Mr. Cuomo baselessly suggests that Ms. Boylan instigated “a clearly preplanned stunt” at the same
 event, where two women with “Ms. Boylan’s group” followed Rita Glavin down the street and
 then engaged with her. See ECF No. 333 at 1. But, as Mr. Cuomo knows, the Working Families
 Party is not “Ms. Boylan’s group.” And the conduct of two other activists—which Ms. Boylan
 only learned about after the fact—had nothing to do with Ms. Boylan. In sum, Mr. Cuomo’s smears
 and insinuations that Ms. Boylan has somehow deliberately put herself in situations “designed to
 physically encounter” and “accost” Mr. Cuomo and “even his legal team” are just wrong. ECF No.
 333 at 1.

        This is more vexatious legal bullying. To reduce any further financial and emotional burden
 on a non-party witness, this Court should order Mr. Cuomo not to file any more letters about Ms.
 Boylan without the Court’s advance permission.

                                              Sincerely,
                                              /s/ E. Danya Perry
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